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                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                              HUNTINGTON DIVISION

Jonathan R., minor, by Next Friend, Sarah             )
DIXON, et al.,                                        )
                                                      )
                                                      )
                               Plaintiffs,            )       Class Action
                                                      )       3:19-cv-00710
v.                                                    )
                                                      )
Jim JUSTICE, in his official capacity as the          )
Governor of West Virginia, et al.,                    )
                                                      )
                                                      )
                               Defendants.            )


                            PLAINTIFFS’ MOTION TO COMPEL

       Pursuant to Rule 37 of the Federal Rules of Civil Procedure and Local Rule 37.1(c),

Plaintiffs move to compel certain discovery which Defendants claim is protected under the

deliberative process privilege.

       During a deposition of Jeremiah Samples, former Deputy Secretary of the Department of

Health and Human Resources (“DHHR,” now the Department of Human Services or “DoHS”),

Defendants objected repeatedly to Plaintiffs questioning Samples about conversations he had with

Bill Crouch, former DHHR Secretary, about issues in West Virginia’s child welfare system. In

addition, Plaintiffs have recently received privilege logs for documents withheld that are to or from

DoHS employees or to or from members of the Governor’s staff, based on the deliberative process

privilege.

       Defendants should not be allowed to use the deliberative process privilege as a shield

against all discovery into their internal discussions regarding child welfare issues. First, the

deliberative process privilege should not apply in this case where the government’s intent is

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integral to the constitutional law claims at issue. Second, even where the deliberative process

privilege applies, courts view the privilege narrowly and perform a balancing test on the documents

or testimony sought. Courts regularly deny usage of the deliberative process privilege where the

public interest outweighs the government’s interest in privacy. Here, all of those factors weigh in

favor of disclosure. Third, Defendants’ application of the deliberative process privilege is overly

broad. Defendants appear to be objecting to the use of any internal discussions regarding child

welfare issues at DoHS that may or may not have led to policy decisions, despite the fact that the

vast majority of discussions were among high-level employees like former Secretary Bill Crouch

and former Deputy Secretary Samples which can, in one way or another, be categorized as

involving policy. That was their job.

          Defendants have withheld over 2,000 documents on this basis. This type of overbroad

application should not be countenanced.

          Accordingly, Plaintiffs respectfully request that the Court compel Defendants to allow

and/or produce this discovery by no later than June 21, 2024.

                                           BACKGROUND

          Plaintiffs noticed and took the deposition of Jeremiah Samples on April 18, 2024. See Ex.

1.1 (transcript of deposition of Jeremiah Samples).2 During the deposition, Defendants objected on

at least nine occasions to certain testimony being provided on the basis of deliberative process

privilege as stated below:

      •   Tr. 62:23-65:16: “Q. You said you were having policy disagreements with
          Secretary Crouch with respect to child welfare…with respect to child welfare, what
          were those policy disagreements?” “A . . . We had disagreements over budgetary
          priorities as it related to child welfare. Specifically, I contended that money should


1
    All Exhibits are to the Declaration of Marcia Lowry dated May 23, 2024 (“Lowry Decl.”).
2
    The errata of Jeremiah Samples is outstanding and is due to be signed by May 28, 2024.

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     be shifted to that –.” MR. PEISCH [counsel for DoHS]: “I’m going to object to that
     answer and ask you not to answer on the grounds of deliberative process privilege.
     Any advice that you provided to Secretary Crouch, pre-decision on a policy
     decision of the department, we object on the deliberative process privilege
     grounds.”

 •   Tr. 71:23-72:11: “Q. And so with regard to the CPS, you know, not doing their
     duties, did you have conversations with Mr. Crouch about that issue? A. Yes,
     ma’am. Q. And what was his position on CPS not doing their duties? MR. PEISCH:
     I am going to object and instruct the witness not to—only and to the extent these
     were discussions about specific policy decisions, and they were deliberative
     conversations about policy decisions.”

 •   Tr. 80:19- 82:11: “Q. And in terms of the wraparound services, was that something
     you felt Mr. Crouch could have done more to help that to progress? A. I believed
     at the time and still believe that we could have all done more to advance those
     policies more aggressively. . . . And I was very vocal about stating that I did not
     think we were making enough progress in this area and the others listed in this
     statement. Q. When you say you were very vocal, who were you talking to that you
     were very vocal about the amount of progress not being made?” MR. PEISCH:
     Objection. Deliberative process privilege. MR. WALTERS: You’re going to assert
     the privilege over the individuals he spoke with? MR. PEISCH: I will not assert the
     privilege over –yes. Actually, I will assert the privilege over that because he has
     just testified to what he has been saying and what his position is. And I think she is
     asking him to say who did you convey that specific message to. Q. Did you talk to
     Bill Crouch about that progress was not made in those specific areas? MR.
     PEISCH: Deliberative process privilege.”

 •   Tr. 85:1-86:16: “A similar issue materialized over the workforce crisis. And I
     contended that vacancy rates throughout the department—you know, DHHR at the
     time—you had child support enforcement, behavior health, Medicaid, CHIP,
     family assistance, you know, Office of Drug Control Policy, Social Services, and
     enormous central bureaucracy. All of those areas had – and the health facilities –
     and the health facilities. All of those areas had varying degrees – varying degrees
     of vacancy rates. Some of those positions, substantial amounts, were – positions
     were vacant for over a year. And while some of those bureaus and programs
     continued to advocate for those positions, I felt like they should be shifted within
     our budget and personal service lines to CPS specifically. And that conversations
     continued through my time at the department in 2022 through the session. Q. Did
     anything happen as a result of those conversations? A. It did. Q. What happened?
     A. I worked with the governor’s office and Chairman Tarr to have the governor
     dictate to the department, contrary to the secretary’s position, that— MR. PEISCH:
     Objection. Deliberative process privilege. You can keep going What I think is
     covered by the deliberative process privilege, you’ve already said. The Witness:
     Oh, okay. I’m sorry. A. Contrary to the secretary’s position, the department— MR.
     PEISCH: Same objection.

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   •   Tr. 94:24-95:12: Q. And in terms of child welfare, what were the differences in
       views on what the problems were? A. I am happy to respond to that but I don’t
       know that my response is not going to be considered. Q. Well, let him – let counsel
       object. MR. PEISCH: Well, to the extent you are about to disclose information you
       disclosed to Secretary Crouch in pre-decisional conversations, we object on
       deliberative process privilege.”

   •   Tr. 137:2-21: Q. But with regard to the problems that you just listed, you thought
       that Mr. Crouch was aware of the problems but was not taking action and children
       were being harmed; is that right? A. Yes. Q. I am going to go through and – I
       understand you might object, but I want to ask this for our record . . . With regard
       to the problems that you we were discussing before, what were your conversations
       with Mr. Crouch? MR. PEISCH: Objection Deliberative process privilege. MR.
       WALTERS: I’m sorry. Just to make sure. When you make the objection, you are
       also instructing him not to answer? MR. PEISCH: Yes.

   •   Tr. 146:14-147:7: “Q. And you had mentioned that he did not -- Mr. Crouch did
       not want Jeff Pack appointed. Why did he not want Jeff Pack appointed? MR.
       PEISCH: Objection. Deliberative process privilege. MR. PEISCH: Objection.
       Deliberative process privilege. MS. TEBOR: This—I mean, this is not a policy
       decision or a discussion beforehand. He was appointed. MR. PEISCH: The decision
       to – first, the decision to appoint the BSS –who to appoint the BSS commissioner
       is a decision of the agency that we think is covered by deliberative process
       privilege. If he is talking about, you know, how he and Secretary Crouch discussed
       who to hire for BSS commissioner, we contend that’s covered by deliberative
       process privilege.”

   •   Tr. 150:10-17: Q. Did you have concerns with appointing Ms. Chapman as the
       commissioner? A. I did. Long term, I did, yes. Q. And what were those concerns?
       A. I stated to the secretary that I was concerned – MR. PEISCH: Objection.
       Deliberative process privilege.”

   •   Tr. 184:12-20: Q. Did you have any conversations with Mr. Crouch about
       preventing DHHR employees from speaking with the legislature? A. I would have,
       yes, ma’am. Q. Do you recall what those conversations were? A. Just vaguely. MR.
       PEISCH: Objection. Deliberative process privilege.


       The parties were unable to resolve any disagreement regarding the deliberative process

privilege at the deposition, instead agreeing that they would need to seek the Court’s assistance.

       Defendants’ discovery objections on the basis of deliberative process privilege also expand

to documents. Defendants initially attempted to claw back one document introduced at Samples’

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deposition, on the basis of deliberative process privilege. Ex. 2. This email reflects conversations

between Crouch and Samples about ongoing issues at DHHR, including retaliatory practices and

a lack of communication/training on the part of caseworkers. Id. Defendants ultimately agreed not

to claw back this document if Plaintiffs would agree that this did not constitute a waiver of any

privilege. Exs. 3, 4 and 5 (emails between Defendants and Plaintiffs).

       Moreover, while Defendants only reviewed a subset of documents, Defendants are

withholding nearly 2,000 documents on the basis of the deliberative process privilege. On May 9,

2024, Defendants produced a privilege log to Plaintiffs. Ex. 6. This first privilege log covers only

emails of the Governor’s staff (Brian Abraham and Ann Urling) withheld on the basis of privilege.

Id.; Lowry Decl. ¶10. For these two individuals alone, Defendants have withheld 1,495 documents

on the basis of deliberative process privilege. Ex. 6. On May 10, 2024, Defendants produced a

second privilege log covering emails withheld on the basis of deliberative due process to/from

employees of DoHS. Lowry Decl. ¶11; Ex. 7. For these individuals, Defendants have withheld 467

documents. Ex. 7. Neither privilege log attached an affidavit from an agency head attesting to the

deliberative process in the withheld documents. Exs. 6 and 7.

       Defendants have not reviewed all of the documents they produced and there may well be

other documents in their productions that Defendants will argue are covered by deliberative

process privilege. Lowry Decl. ¶2. Plaintiffs may only learn of these objections when Plaintiffs

attempt to use these documents in connection with depositions or in connection with dispositive

motion practice and trial.

       The parties met and conferred on May 23, 2024 to ascertain whether they could narrow the

issues in dispute with respect to this Motion. Lowry Decl. ¶4. It was determined that no

compromise could be reached on narrowing the issues prior to Plaintiffs filing this Motion. Id.



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       The deliberative process privilege is inapplicable in this case and, even if it were,

Defendants have not satisfied their burden of proving that it should be applied to the documents at

issue. Therefore, all of the foregoing withheld discovery should be produced/provided immediately

and by no later than June 21.

                                      LEGAL STANDARD

       Deliberative process privilege generally attaches to material that is “predecisional and

deliberative,” City of Va. Beach v. Dep’t of Commerce, 995 F.2d 1247, 1253 (4th Cir. 1993), and

“bear[s] on the formulation or exercise of agency policy-oriented judgment.” Ethyl Corp. v. EPA,

25 F.3d 1241, 1248 (4th Cir. 1994) (emphasis in original). Courts narrowly construe this privilege

and “simple statements of law or evaluations of existing policies . . . do not enjoy the aspects of

the give-and-take process necessary to render them deliberative.” Crosby v. U.S., No. 07-cv-3668,

2009 U.S. Dist. LEXIS 137650, at *5, 7-8 (D.S.C. Mar. 24, 2009). The agency may lose the

privilege “when material is formally or informally adopted as the agency’s position or used by the

agency in its dealings with the public.” City of Va. Beach, 995 F.2d at 1253 (internal citations and

quotation marks omitted).

       Moreover, the privilege does not apply in cases where “the plaintiff’s cause of action is

directed at the government’s intent.” In re Subpoena Duces Tecum Served on the Office of the

Comptroller of the Currency, 145 F.3d 1422, 1424 (D.C. Cir. 1998); Est. of LeRoux v. Montgomery

Cty., No. 22-cv-00856, 2024 U.S. Dist. LEXIS 71544, at *12 (D. Md. Apr. 19, 2024) (collecting

cases); Lawrence v. Suffolk Cnty., No. 22-cv-2887, 2022 U.S. Dist. LEXIS 52733, *36-38

(E.D.N.Y. Mar. 23, 2022) (collecting cases); Children First Found., Inc. v. Martinez, No. 04-cv-

00927, 2008 U.S. Dist. LEXIS 120828, at *8-9 (N.D.N.Y. June 20, 2008) (collecting cases). As

courts have noted, “[i]f the plaintiff’s cause of action is directed at the government’s intent,



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however, it makes no sense to permit the government to use the privilege as a shield . . . . [such

as] in a Title VII action or constitutional claim for discrimination.” In re Subpoena Duces Tecum

Served on the Office of the Comptroller of the Currency, 145 F.3d at 1424.

       Moreover, even if the privilege attaches to the requested information, the party seeking

disclosure may overcome the claim of privilege by showing a sufficient need for the material in

the context of the facts or the nature of the case. See, e.g., Cipollone v. Liggett Group, Inc., 812

F.2d 1400 (4th Cir. 1987); see also In re Grand Jury, 821 F.2d 946, 959 (3d Cir. 1987) (citing

NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 149 n.16 (1975)); see also Redland Soccer Club v.

Dep’t of the Army, 55 F.3d 827, 854 (3d Cir. 1995) (“The privilege, once determined to be

applicable, is not absolute.”). “These limitations reflect the careful tailoring of the privilege to

achieve its purpose of protecting confidentiality without unduly inhibiting the truth-finding process

of litigation.” In re Grand Jury, 821 F.2d at 959.

       When balancing the parties’ interests, the court should consider, “including (1) the

relevance of the evidence sought, (2) the availability of other evidence, (3) the role of the

government in the litigation, and (4) the potential consequences of disclosure of the information.”

Murray Energy Corp. v. McCarthy, No. 14-cv-39, 2015 U.S. Dist. LEXIS 152914, at *7-8

(N.D.W. Va. Nov. 12, 2015) (collecting cases); see Cipollone, Inc., 812 F.2d 1400.

       Courts in this Circuit also find that the agency head, not merely their counsel, must

personally have considered whether a document is covered by deliberative process privilege. See,

e.g., Est. of LeRoux, 2024 U.S. Dist. LEXIS 71544, at *13-14 (“To assert the deliberative process

privilege, the government usually must: a) Invoke it through an agency head or her subordinate

who is personally knowledgeable about the information sought to be protected; b) Identify the

specific information that is protected by the privileged; c) Give reasons for maintaining the



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confidentiality of the information; d) Demonstrate that the privileged information is both pre-

decisional and deliberative.”); U.S. v. Berkeley Heartlab, Inc., No. 14-cv-00230, 2017 U.S. Dist.

LEXIS 93582, at *11 (D.S.C. June 19, 2017) (same); Hugler v. BAT Masonry Co., No. 15-cv-28,

2017 U.S. Dist. LEXIS 49027, at *9 (W.D. Va. Mar. 31, 2017) (same).

                                           ARGUMENT

       A.      The Deliberative Process Privilege Does Not Apply Because Plaintiffs’ Suit is
               Directed at the Government’s Intent

       To establish a violation of substantive due process, Plaintiffs must show that Defendants

were deliberately indifferent to a substantial risk of harm to foster children. Doe ex rel. Johnson v.

S.C. Dep’t of Soc. Servs., 597 F.3d 163, 175 (4th Cir. 2010). “Courts have made clear that . . . the

deliberative process privilege does not apply where the plaintiff’s cause of action is directed at the

government’s intent.” See, e.g., Est. of LeRoux, 2024 U.S. Dist. LEXIS 71544, at *12 (collecting

cases); In re Stone v. Trump, 356 F. Supp. 3d 505, 515 (D. Md. 2018); In re Subpoena Duces

Tecum Served on the Office of the Comptroller of the Currency, 145 F.3d at 1424; Children First

Found., Inc., 2008 U.S. Dist. LEXIS 120828, at *8-9 (collecting cases); Jones v. City of College

Park, 237 F.R.D. 517, 521 (N.D. Ga. 2006); U.S. v. Lake Cnty. Bd. of Comm’rs, 233 F.R.D. 523,

527 (N.D. Ind. 2005). Here, Plaintiffs’ claims are directed at the government’s intent and whether

it knew or should have known of the substantial risk of harm that to which the Plaintiff children

were exposed and failed to take sufficient action to mitigate this risk. Therefore, Defendants cannot

use the deliberative process privilege to shield relevant evidence of their intent. The privilege

simply does not apply to this kind of action.

       Indeed, as illustrated by their objections throughout the deposition of Jeremiah Samples,

Defendants are claiming privilege over almost all documents and communications that pertain to

any conversations between high level DoHS officials about child welfare issues, including high

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caseloads, a lack of placements and a failure to provide services to foster children and their

families—i.e. seminal issues in Plaintiffs’ case.

        Jeremiah Samples was the Deputy Secretary of DHHR from 2013-2022 and worked

directly with then-Secretary of DHHR Bill Crouch on issues related to child welfare. Ex. 1 (Tr.

13:14-14:1). During the Samples deposition, defense counsel objected to almost every instance in

which Plaintiffs’ counsel asked about conversations between Samples and Crouch regarding issues

at DHHR because those issues may have led to certain policy actions (or inaction). For example,

Samples testified that with respect to various issues at DoHS “Mr. Crouch was aware of the

problems but was not taking action and children were being harmed.” Ex. 1 (Tr. 137:2-21).

Defense counsel, however, blocked Plaintiffs from asking about the conversations between Crouch

and Samples so as to understand what exactly Crouch was aware of when he failed to act. Where

a key official’s knowledge is at issue in the lawsuit’s claim, the deliberative process privilege is

inapplicable. Nor were there any policy issues on which there was deliberation except for Crouch’s

potential refusal to take action. This is not a legitimate exercise of the deliberative privilege even

if the privilege applies at all in this case.

        Plaintiffs have scheduled the depositions of numerous former and current employees at

DoHS, including former Secretary Bill Crouch and current Secretary Cynthia Persily, for June and

early July. Lowry Decl. at ¶3. Plaintiffs fully expect that defense counsel will object to any

questions pertaining to discussions regarding child welfare issues and that this will significantly

hamper the depositions. Thus, Plaintiffs respectfully request that the Court require Defendants to

allow their witnesses to answer questions similar to those asked of Samples.

        Moreover, Defendants are withholding nearly 2,000 documents on the grounds of

deliberative process privilege. While Plaintiffs have no way of knowing exactly what is in those



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emails, it is clear from the one document that Defendants initially tried to claw back that the

information is likely to be highly relevant to Plaintiffs’ claim and to the government’s knowledge

of ongoing harm to children. In the email that Plaintiffs identified as an exhibit during Jeremiah

Samples’ deposition, Sample and Crouch discuss a report that was issued by the foster care

ombudsman and what should be done about the report. Ex. 2; Ex. 8 (Ombudsman Report). As

Samples states in his email to Crouch dated May 19, 2021, “the report reflects badly on child

welfare and reenforces what we hear from multiple stakeholders.” Ex. 2. Crouch responds that “we

will not own the Ombudsman Report.” Samples then responds that:

        Progress has been made in some areas but overall results are still poor. This report
        is a starting place but after some conversations with the Ombudsman it could have
        hit a lot harder. We have mostly good people that do their best but there are critical
        breakdowns occurring. On the lower end of the bell curve of our workforce, some
        of these breakdowns have resulted in terrible outcomes for kids and those cannot
        be defended. There is a lack of policy integrity, and thus practice, across the front
        lines. Our workers are inundated with paperwork and our management structure
        has too many levels with too many balls to juggle at critical junction points to
        assist and hold accountable bad practice/actors. . . Our vacancy rates are above
        20% and those workers remaining have caseloads that are entirely too high to
        effectively manage. This is in some ways shielded because we use a ratio based
        on case vs child and that doesn’t account for large families of very troubled
        children that have diverse needs. This has translated into shortcuts and triage
        practices that leaves our critical partners in the Courts, prosecutor offices, provider
        community and amongst foster parents going without information or even returned
        phone calls in crisis. We have seen a relative increase in the number of kids going
        out of state and a breakdown in provider infrastructure, part but not all of which
        is COVID related, that inhibits timely placements. We still have way too many
        workers staying in hotels and county offices with kids. We still have too many
        kids that get stuck in placements because we have no where else to send them but
        out of state. Our progress on restructuring the placement system has been slow and,
        while we are closers than we were, the hardest part of the road is still ahead. Ex. 1.

        Samples ultimately lays out what steps he thinks DoHS needs to undertake and

states that:


        My biggest concern with the Ombudsman report is that it validated concerns we
        already had and added context to them. It also reenforced what legislators hear

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       from their constituents. Ultimately, we have very serious structural and
       management issues on top of unprecedented need in the state. I believe our response
       publicly but also internally has to own this or we risk continued terrible outcomes.
       Ex. 2.

       These emails show how important information regarding the discussion of child welfare

issues at DoHS is to this action and to Plaintiffs’ claims. Thus, deliberative process privilege

should not apply in this action.

   B. Defendants’ Theory of “Predecisional” is Overly Broad and Defendants Have not
      Made the Detailed Showing Necessary to Withhold Documents or Block Deposition
      Testimony Under the Deliberative Process Privilege

       Even if the deliberative process privilege applies to this case, and it should not, Defendants’

view of deliberative process privilege is overly broad and neither their privilege logs nor their

objections during the deposition of Jeremiah Samples meet the detailed showing necessary to

withhold documents based on the deliberative process privilege. “While the government need not

anchor documents to a single discrete decision amidst ongoing deliberative processes, the Fourth

Circuit has warned that an overly lax construction of the term ‘predecisional’ submerges the rule

of disclosure under the exemption.” Crosby., 2009 U.S. Dist. LEXIS 137650, at *6 (citing City of

Va. Beach, 995 F.2d at 1255); see also Coastal States Gas Corp. v. Dep’t. of Energy, 617 F.2d

854, 868 (D.C. Cir. 1980) (“[C]haracterizing these documents as ‘predecisional’ simply because

they play into an ongoing audit process would be a serious warping of the meaning of the word.”).

The privilege “does not protect a document which is merely peripheral to actual policy formation;

the record must bear on the formulation or exercise of policy-oriented judgment.” Solers, Inc. v.

IRS, 827 F.3d 323, 329-30 (4th Cir. 2016) (quoting Ethyl Corp., 25 F.3d at 1248). Furthermore,

“purely factual material does not fall within the exemption unless it is inextricably intertwined

with policymaking processes such that revelation of the factual material would simultaneously

expose protected deliberation.” Id. at 330 (quoting City of Va. Beach, 995 F.2d at 1253).

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          For these reasons, the Defendants must make a specific and detailed showing that the

information sought to be withheld does indeed fall within the privilege. Keeper of the Mts. Found.

v. DOJ, 514 F. Supp. 2d 837, 852 (S.D. W. Va. 2007) (government must provide supporting

affidavits, which “must be relatively detailed and nonconclusional”). Defendants have failed to do

so.

          From their objections during the Samples Deposition and from their privilege log,

Defendants appear to be withholding any and all documents and preventing any discovery into

discussions of the substantial problems in the child welfare system among key officials that may

or may not have been directly involved in formulating agency policy. Defendants’ privilege log

contains descriptions such as the following:

      •   “Internal, pre-decisional deliberations related to use of virtual visits to foster children.”

      •   “Internal, pre-decisional deliberations regarding potential steps to improve contact times
          with foster children.”

      •   “Internal, pre-decisional deliberations regarding handling of educational neglect referrals.”

      •   “Internal, pre-decisional deliberation related to QRTP policy.”

      •   “Internal, pre-decisional deliberation related to therapeutic foster care program.”

      •   “Internal, pre-decisional deliberations regarding five-year prevention plan.”

      •   “Internal, pre-decisional deliberation related to safety assessment policy.”

      See Ex. 7.

          There are numerous similar examples. These relatively vague and generic entries lack the

sufficient level of detail and specificity to meet Defendants’ burden of showing that the

information withheld was “a direct part of the deliberative process in that it makes

recommendations or expresses opinions on legal or policy matters.” Keeper of the Mts. Found.,

514 F. Supp. 2d at 851 (emphasis added) (quoting Vaughn v. Rosen, 523 F.2d 1136, 1143-44 (D.C.

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Cir. 1975)); see also Coastal States Gas Corp., 617 F.2d at 867 ([T]he deliberative process

privilege is so dependent upon the individual document and the role it plays in the administrative

process.”); Solers, Inc., 827 F.3d at 329; City of Va. Beach, 995 F.2d at 1253; Est. of LeRoux, 2024

U.S. Dist. LEXIS 71544, at *13-14.

       Lastly, there is no evidence that the head of DoHS reviewed the documents and is asserting

deliberative process privilege as is required. See, e.g., Berkeley Heartlab, Inc., 2017 U.S. Dist.

LEXIS 93582, at *11; Hugler, 2017 U.S. Dist. LEXIS 49027, at *9.

       Ultimately, the sheer volume of documents—nearly 2,000—that Defendants seek to

withhold on the basis of this privilege is itself indicative of the overbreadth of their claim. Cases

addressing application of this privilege typically involve only a handful of documents, where the

facts and circumstances concerning them are fully explored and evaluated to determine whether

the privilege applies to the information within them. See, e.g., Keeper of the Mts. Found., 514 F.

Supp. 2d at 851 (reviewing application of privilege to four email exchanges); Est. of LeRoux, 2024

U.S. Dist. LEXIS 71544, at *17-18 (two memoranda); City of Va. Beach, 995 F.2d at 1253 (30

documents). Surely, Defendants’ assertion of the privilege over this many documents is

inconsistent with courts’ admonition that the privilege should be applied “as narrowly as consistent

with efficient Government operation.” Coastal States Gas Corp., 617 F.2d at 868; accord Crosby

2009 U.S. Dist. LEXIS 137650, at *5 (quoting Wolfe v. Dep’t of Health and Human Servs., 839

F.2d 768, 773-774 (D.C. Cir. 1988)).

       C.      The Equities Weigh in Favor of Disclosure

       “Even if the Court determines that the privilege applies, the privilege is not absolute; rather,

courts must balance the public interest in nondisclosure with the need for the information as

evidence.” Est. of LeRoux, 2024 U.S. Dist. LEXIS 71544, at *16. “Applying this balancing, courts



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have routinely found that interest in disclosure outweighs the interest in privacy in civil rights

cases.” Id. Thus, even if the privilege applies in this case, and even if the privilege attaches to the

discovery requested, this Court should nevertheless compel disclosure because the need for the

information in this case outweighs the government’s interest in confidentiality.” See,

e.g., Harrison v. Shanahan, No. 18-cv-641, 2019 U.S. Dist. LEXIS 86589, at *19 (E.D. Va. May

22, 2019); Stone, 356 F. Supp. 3d at 515; In re Grand Jury, 821 F.2d at 959; NLRB, 421 U.S. at

149 n.16. Specifically, the government’s deliberate indifference is at issue, the evidence is highly

relevant, other evidence is not available, and the potential consequence of the disclosure of this

information is minimal and outweighed where the information is central to the issues in the case.

Murray Energy Corp, 2015 U.S. Dist. LEXIS 152914, at *7 (collecting cases); see Burbar v. Inc.

Vill. Of Garden City, 303 F.R.D. 9, at 15 (E.D.N.Y. 2014).

       Indeed, numerous courts have found that the deliberative process privilege is inappropriate

in civil rights actions. Est. of LeRoux, 2024 U.S. Dist. LEXIS 71544, at *17 (collecting cases).

“The interest of justice in full and open discovery of these matters, as well as the public interest in

ensuring that the government functions properly and effectively, outweigh any governmental

interest in this case in encouraging a frank internal discussion.” Crosby, 2009 U.S. Dist. LEXIS

137650, at *8. The urgency and the stakes of this litigation could not be higher. Thus, all factors

weigh in favor of disclosure.

       First, the requested discovery is highly relevant to establishing deliberate indifference. The

deposition testimony sought is particularly instructive. Defendants objected to Plaintiffs asking

essentially any questions regarding conversations between former Deputy-Secretary Samples and

former Secretary Crouch or anyone else about the issues that existed in West Virginia’s child

welfare system. Plaintiffs expect that Defendants will likewise object to questions regarding



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similar discussions between high-ranking agency officials in upcoming depositions. Moreover,

between the documents of DoHS executives and the Governor’s staff, DHHR is thus far

withholding nearly 2,000 documents on the basis of deliberative process privilege. This

information could not be more relevant, especially where Plaintiffs must show that Defendants

acted with deliberate indifference.

       The document discussed above that was marked as an exhibit during the Samples

deposition and that Defendants initially attempted to clawback is also telling. In this email

exchange between former Deputy Secretary Samples and former Secretary Crouch, Crouch tells

Samples that DoHS will “not own” a report from the ombudsman that reflects poorly on the West

Virginia child welfare system and that, as Samples states, “validated concerns we already had and

added context to them.” Ex. 1 (Tr. 183:1-2). While Plaintiffs expect that Defendants will argue

that Plaintiffs could use circumstantial or indirect evidence to prove Defendants’ deliberate

indifference (e.g. that the number of children sent out of state is still high), evidence such as the

email between Samples and Crouch is far more telling. Moreover, this evidence does not otherwise

exist due to Defendants’ spoliation as well as their continuing pattern and practice of hiding

relevant information from the public and from the legislature as discussed below.

       The descriptions of the documents withheld are telling and illustrate that they are highly

relevant to Plaintiffs’ claims. For example, in Defendants privilege log listing emails of the DoHS

employees withheld on the basis of privilege, there are numerous examples of emails that are

highly relevant to Plaintiffs’ claims, including with regard to caseworker caseloads, inadequate

placement array and failure to provide necessary services to children. See, e.g., Ex. 7

CTRL0000704847.0002 (“Report presentation reflecting and created for purpose of aiding

internal, pre-decisional deliberations related to CQI [continuous quality improvement] compliance



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for children’s mental health services.”); D002780899 (one of numerous emails listed as “Internal,

pre-decisional deliberation related to [DoHS’s Qualified Residential Treatment Program, or their

program to address the needs of a juvenile with serious emotional or behavioral disorders]” from

Laura Barno, Coordinator-Community Based Options)3; D002780485 (one of numerous emails

listed as “Internal, pre-decisional deliberation related to therapeutic foster care program” from

Carla Harper, program manager; D002781229 (one of numerous emails listed as “Internal, pre-

decisional deliberation related to [psychiatric residential treatment facility]” from Laura Barno to

Jeffrey Wiseman, Assistant to the Deputy Secretary); D002781242 (Email from Laura Barno to

Cammie Chapman and others listed as “Internal pre-decisional deliberation related to [Department

of Justice Memorandum of Understanding”); D002782000 (one of numerous emails listed as

“Internal, pre-decisional deliberation related to placement process” from Heidi Staats, Office

Director, to Cammie Chapman and others); D002785555 (Email listed as “Internal, pre-decisional

deliberation related to strategies for improving staffing turnover and vacancies” from Tara

Buckner, Chief Financial Officer, to Bill Crouch and others); CTRL0000409221 (email from Amy

Hymes, Deputy Commissioner of Operations, to Jeffrey Pack, Commissioner of the Bureau of

Social Services and others, entitled “Time to First Contact” which is listed as “Internal, pre-

decisional deliberation regarding potential steps to improve contact times with foster children.”).

These emails would directly support Plaintiffs claims and common questions as certified by the

Court. Jonathan R. v. Justice, 344 F.R.D. 294, 305 (S.D. W.Va. Aug. 17, 2023) (“Plaintiffs have

demonstrated that DHHR maintains an inadequate array of placements to meet the needs of foster

children.”); Id. at 309 (“The court concludes that Plaintiffs have presented sufficient evidence to

demonstrate that high caseloads and chronic understaffing are Defendants’ policy or practice.”)



3
    Laura Barno was another individual whose emails Defendants deleted. ECF No. 377-7 at 2.
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Id. at 313 (“The court finds sufficient evidence of systemic deficiencies in the availability of

community-based services for children with disabilities.”).

       The Governor staff’s emails are also highly relevant. For example, CTRL0001537737 is

an email to Ann Urling, Deputy Chief of Staff for Governor Justice, a named Defendant, and the

description is “internal, pre-decisional deliberation related to abuse and neglect staff.”4 Ex. 6 at

95. As discussed above, caseworker turnover and attendant overly high caseloads are integral to

Plaintiffs’ claims. Jonathan R., 344 F.R.D. 294 at 309.

       The information sought by Plaintiffs cannot be obtained from other sources. First, this type

of direct evidence of awareness of issues in the child welfare system is especially important given

Samples’ testimony that DoHS withheld and continues to withhold and hide evidence of the

egregious issues at DoHS from the public and from the legislature. For example, DoHS under

former Secretary Bill Crouch and during the current administration has threatened the foster care

ombudsman, who is responsible for monitoring the children welfare system, and told her to

withhold information from the legislature and the public. Samples stated during his deposition:

       It was stated to me that Secretary Crouch at one point had met with the ombudsman
       and applied pressure about discussions that she may or may not want to have with
       the legislature. And it had been indicated that my name had been brought up, to be
       very careful about conversations that she had with me, specifically in my work at
       the legislature. There were concerns presented about discussions with Ms.
       Chapman not wanting information released from the ombudsman. And so as we
       began to reorganize or plan for the reorganization of DHHR, that specific issue
       became a top priority and continued to be a priority even through this past year. Ex.
       1 at Tr.32:12-33:3.

       Samples stated that he was made aware of this issue in 2022 and that the Ombudsman told

Samples that “she was called in to Secretary Crouch’s office. And I don’t recall specifically how


4
 Defendants previously informed Plaintiffs that Governor Justice does not use email. Ex. 377-7 at
4. Thus, Plaintiffs requested that Defendants produce the emails of Governor Justice’s Chief of
Staff, Brian Abraham, and Deputy Chief of Staff, Ann Urling.

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she worded it. But the tone of the conversation was that it was a threat, to be very careful about

conversations that she had with the legislature and documents that she would release. Q. Did you

understand that Secretary Crouch was telling her that he did not want her to be forthcoming and

fully disclose her findings? A. That was my analysis of the situation, yes. ” Ex. 1 (Tr. 34:3-16).

       Samples stated that he was also informed that the Ombudsman continued to have problems

with DoHS not wanting information made public even after Crouch’s departure. Specifically, the

foster care ombudsman told Samples that “she was continuing to have issues with [Deputy

Secretary Cammie Chapman] as it related to gaining access to information, to meetings and

disagreements. My understanding, disagreements over the ombudsman’s report to the legislature.”

Ex. 1 (Tr. 35:8-38:5); see also Tr. 39:7-14 (Q. So in your role at the legislature, you had

conversations with the ombudsman where she specifically mentioned Ms. Chapman as not willing

to provide access or being difficult to get access to certain information due to Ms. Chapman’s

interference? A. That’s correct.”).

       Samples also testified that Crouch had sent an email to employees at DHHR requesting

that they not release information to the legislature so that Crouch could “keep our staff from telling

the legislature information that may ultimately result in some political embarrassment” for Crouch.

Ex. 1 (Tr. 184: 1-3). To the extent that Defendants are arguing that there are other sources for this

information, Defendants have strategically undertaken to hide evidence of their failings from the

public eye.

       Moreover, Plaintiffs cannot obtain this evidence from another source due in large part to

Defendants’ failure to preserve numerous agency heads’ emails, including the emails of Bill

Crouch and Linda Watts. Had Defendants preserved the evidence and produced it to Plaintiffs, the

evidence of subjective awareness may have been contained in those emails. Defendants argued



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extensively in connection with Plaintiffs’ motion for sanctions that “Plaintiffs have not shown that

the deleted emails could not be replaced through other discovery, such as audits, reports,

depositions, written discovery, or even stipulations.” Jonathan R., 2024 U.S. Dist. LEXIS 56489,

at *24.5 Defendants also argued repeatedly throughout their briefing on the motion for sanctions

that other emails that they had not deleted could replace the emails that they spoliated. ECF No.

399 at 7 (“DHHR, working together with WVOT, has retrieved documents from, to, or copying

six of the seven custodians at issue from the accounts of current DHHR employees.”); ECF No.

437 at 50:13-25 (January 17, 2024 Hearing Transcript: “THE COURT. So you – what you have

done is you’ve gone back and you’ve run searches of other people’s e-mails that were not originally

named as custodians, but that you think might have – MS. BROWN: I believe it was every

employee of the Bureau of Social Services. THE COURT: Okay. And you’ve done – you’ve

looked for CC’s and BCC’s and run the names of these seven people and gotten all of those – all

of that information? MS. BROWN: Yes, Your Honor. THE COURT: And where is that

information now? MS. BROWN: I believe that some, but not all of the responsive e-mails have

been produced.”). Defendants now seek to hide that same evidence from Plaintiffs by claiming

that it all is protected by the deliberative process privilege. This should not be countenanced.

Plaintiffs have “demonstrated a compelling need for the materials in its litigation” and “one that

could not be satisfied in other ways.” See Cipollone v. Liggett Group, No. 86-cv-1198, 1987 U.S.

App. LEXIS 19775, at *7 (4th Cir. Feb. 13, 1987).


5
  While Plaintiffs acknowledge that the Court ruled that Plaintiffs could also use objective evidence
to show deliberate indifference, the Court did not find that subjective evidence was irrelevant or
that Plaintiffs should not have access to evidence of subjective intent. Id. at *38. Plaintiffs also
expect that Defendants will rely on the Court’s language in its March 28, 2024 order citing to the
deliberative process privilege. See Jonathan R. v. Justice, 2024 U.S. Dist. LEXIS 56489, at *38
(S.D. W.Va. Mar. 28, 2024). However, the issue of whether deliberative process privilege applies
in this case was not before the Court.

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        Third, the government’s deliberative process is not incidental to this case. Just the opposite:

this entire case centers around the policies, practices, actions, and inactions of the government.

The government is the Defendant, and this suit targets the government’s actions and inactions.

Accordingly, this factor weighs in favor of disclosure.

        Moreover, the consequences of disclosure must be weighed against the stakes of the

litigation. This civil rights class action alleges that West Virginia is deliberately indifferent to the

substantial risk of harm posed to its foster children, and as a result of Defendants’ deliberate

indifference, thousands of foster children in West Virginia are subject to ongoing and irreversible

harm. Thus, the balance of the equities is significantly in favor of the production of withheld

discovery. See Est. of LeRoux, 2024 U.S. Dist. LEXIS 71544, at *17 (collecting cases).

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court compel Defendants

to allow the requested discovery from Jeremiah Samples and to produce any documents withheld

on the basis of deliberative process privilege by no later than June 21, 2024.

Dated: May 23, 2024

                                                        Respectfully submitted,


                                                        /s/ Marcia Robinson Lowry___________
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